                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA

                           CASE NO. 1:19-CV-593-LCB-JLW


 ZION WILLIAMSON,

                              Plaintiff,

                v.                                                 [PROPOSED]
                                                                     ORDER
 PRIME SPORTS MARKETING, LLC, and
 GINA FORD,

                              Defendants.


        Before the Court is Plaintiff Zion Williamson’s Motion for Scheduling Conference. For

the reasons stated in Plaintiff’s motion and for good cause shown, the Court orders counsel for

Plaintiff and Defendant to appear for a scheduling conference with the Court at ________

[a.m./p.m.] on March _______, 2020, in Courtroom No. 1, Hiram H. Ward Federal Building &

U.S. Courthouse, 251 N. Main Street, Winston-Salem, NC 27101 to set a discovery schedule in

this case.

        SO ORDERED.



                                                   The Hon. Loretta C. Biggs
                                                   United States District Court Judge




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